                Case 2:14-cr-00182-RMP                    ECF No. 169                 filed 08/30/16        PageID.554 Page 1 of 7
                                                                                                                                       FILED IN THE
 2$2%       5HY  -XGJPHQWLQD&ULPLQDO&DVH                                                                            U.S. DISTRICT COURT
                6KHHW5HYLVHGE\:$('                                                                           EASTERN DISTRICT OF WASHINGTON




                                              81,7('67$7(6',675,&7&2857 Aug 30, 2016                                           SEAN F. MCAVOY, CLERK

                                                (DVWHUQ'LVWULFW RI :DVKLQJWRQ
           81,7('67$7(62)$0(5,&$                                            JUDGMENT IN A CRIMINAL CASE
                      V.
                                                                              &DVH1XPEHU           2:14CR00182-RMP-1
                     JOHN M HICKSON
                                                                              8601XPEHU            17850-085

                                                                                     Frank Cikutovich
                                                                              'HIHQGDQW¶V$WWRUQH\




 THE DEFENDANT

 ✔SOHDGHGJXLOW\WRFRXQW V
 G                                     1 of the Indictment
 G SOHDGHGQRORFRQWHQGHUHWRFRXQW V
    ZKLFKZDVDFFHSWHGE\WKHFRXUW
 G ZDVIRXQGJXLOW\RQFRXQW V
    DIWHUDSOHDRIQRWJXLOW\

 7KHGHIHQGDQWLVDGMXGLFDWHGJXLOW\RIWKHVHRIIHQVHV

 Title & Section                             Nature of Offense                                                                        Offense Ended Count
21 U.S.C. §§ 841(a)(1), (b)(1)(C)         Conspiracy to Distribute a Mixture or Substance Containing a Detectable Amount                 02/01/13    1
   and 846                                of Methamphetamine




        7KHGHIHQGDQWLVVHQWHQFHGDVSURYLGHGLQSDJHVWKURXJK                        7        RIWKLVMXGJPHQW7KHVHQWHQFHLVLPSRVHGSXUVXDQWWR
 WKH6HQWHQFLQJ5HIRUP$FWRI
 G 7KHGHIHQGDQWKDVEHHQIRXQGQRWJXLOW\RQFRXQW V
 ✔&RXQW V
 G                2, 3, 4 of the Indictment                  G LV       ✔DUHGLVPLVVHGRQWKHPRWLRQRIWKH8QLWHG6WDWHV
                                                                        G
          ,WLVRUGHUHGWKDWWKHGHIHQGDQWPXVWQRWLI\WKH8QLWHG6WDWHVDWWRUQH\IRUWKLVGLVWULFWZLWKLQGD\VRIDQ\FKDQJHRIQDPHUHVLGHQFH
 RUPDLOLQJDGGUHVVXQWLODOOILQHVUHVWLWXWLRQFRVWVDQGVSHFLDODVVHVVPHQWVLPSRVHGE\WKLVMXGJPHQWDUHIXOO\SDLG,IRUGHUHGWRSD\UHVWLWXWLRQ
 WKHGHIHQGDQWPXVWQRWLI\WKHFRXUWDQG8QLWHG6WDWHVDWWRUQH\RIPDWHULDOFKDQJHVLQHFRQRPLFFLUFXPVWDQFHV

                                                               7/28/2016
                                                              'DWHRI,PSRVLWLRQRI-XGJPHQW
                                                                     RI,PSRVLWLRQRI-XGJPHQW




                                                              6LJQDWXUHRI-XGJH
                                                                     W     I- G




                                                              Honorable Rosanna Malouf Peterson                    Judge, U.S. District Court
                                                              1DPHDQG7LWOHRI-XGJH
                                                              


                                                                                                     8/30/2016
                                                              'DWH
                                                              
              Case 2:14-cr-00182-RMP                   ECF No. 169             filed 08/30/16       PageID.555 Page 2 of 7
$2%    5HY -XGJPHQWLQ&ULPLQDO&DVH
           6KHHW²,PSULVRQPHQW

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'()(1'$17 JOHN M HICKSON
&$6(180%(5 2:14CR00182-RMP-1


                                                              IMPRISONMENT

       7KHGHIHQGDQWLVKHUHE\FRPPLWWHGWRWKHFXVWRG\RIWKH)HGHUDO%XUHDXRI3ULVRQVWREHLPSULVRQHGIRUDWRWDO
WHUPRI        18 month(s)




   ✔ 7KHFRXUWPDNHVWKHIROORZLQJUHFRPPHQGDWLRQVWRWKH%XUHDXRI3ULVRQV
   G
 The Court recommends defendant serve his sentence at FCI Sheridan to enable visits from family and also give defendant the opportunity
 to participate in the programs offered and the possibility of working at the facility.


   G 7KHGHIHQGDQWLVUHPDQGHGWRWKHFXVWRG\RIWKH8QLWHG6WDWHV0DUVKDO

   G 7KHGHIHQGDQWVKDOOVXUUHQGHUWRWKH8QLWHG6WDWHV0DUVKDOIRUWKLVGLVWULFW
       G     DW                                      G DP     G SP          RQ                                         

       G     DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO

   ✔ 7KHGHIHQGDQWVKDOOVXUUHQGHUIRUVHUYLFHRIVHQWHQFHDWWKHLQVWLWXWLRQGHVLJQDWHGE\WKH%XUHDXRI3ULVRQV
   G
       G     EHIRUHSPRQ                                              

       ✔ DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO
       G
       G     DVQRWLILHGE\WKH3UREDWLRQRU3UHWULDO6HUYLFHV2IILFH


                                                                    RETURN
,KDYHH[HFXWHGWKLVMXGJPHQWDVIROORZV




       'HIHQGDQWGHOLYHUHGRQ                                                              WR

DW                                                   ZLWKDFHUWLILHGFRS\RIWKLVMXGJPHQW



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                Case 2:14-cr-00182-RMP                   ECF No. 169            filed 08/30/16         PageID.556 Page 3 of 7
$2%      5HY -XGJPHQWLQD&ULPLQDO&DVH
             6KHHW²6XSHUYLVHG5HOHDVH

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'()(1'$17 JOHN M HICKSON
&$6(180%(5 2:14CR00182-RMP-1
                                                          SUPERVISED RELEASE
8SRQUHOHDVHIURPLPSULVRQPHQWWKHGHIHQGDQWVKDOOEHRQVXSHUYLVHGUHOHDVHIRUDWHUPRI                 3 year(s)




7KHGHIHQGDQWPXVWFRPSO\ZLWKWKHVWDQGDUGFRQGLWLRQVRIVXSHUYLVLRQDVZHOODVZLWKDQ\VSHFLDOFRQGLWLRQVRIVXSHUYLVLRQVHWIRUWKEHORZ
                                          STANDARD CONDITIONS OF SUPERVISION

       7KHGHIHQGDQWVKDOOQRWFRPPLWDQRWKHUIHGHUDOVWDWHRUORFDOFULPH

      7KH GHIHQGDQW VKDOO QRW XQODZIXOO\ SRVVHVV D FRQWUROOHG VXEVWDQFH 7KH GHIHQGDQW VKDOO UHIUDLQ IURP DQ\ XQODZIXO XVH RI D
       FRQWUROOHGVXEVWDQFHLQFOXGLQJPDULMXDQDZKLFKUHPDLQVLOOHJDOXQGHUIHGHUDOODZ7KHGHIHQGDQWVKDOOVXEPLWWRRQHGUXJWHVW
       ZLWKLQGD\VRIUHOHDVHIURPLPSULVRQPHQWDQGDWOHDVWWZRSHULRGLFGUXJWHVWVWKHUHDIWHUDVGHWHUPLQHGE\WKHFRXUW

           *  7KH DERYH GUXJ WHVWLQJ LV VXVSHQGHG EDVHG RQ WKH FRXUW¶V GHWHUPLQDWLRQ WKDW WKH GHIHQGDQW SRVHV D ORZ ULVN RI IXWXUH
           VXEVWDQFHDEXVH &KHFNLIDSSOLFDEOH

        ✔7KHGHIHQGDQWPXVWQRWRZQSRVVHVVRUKDYHDFFHVVWRDILUHDUPDPPXQLWLRQGHVWUXFWLYHGHYLFHRUGDQJHURXVZHDSRQ
       *
         LHDQ\WKLQJWKDWZDVGHVLJQHGRUZDVPRGLILHGIRUWKHVSHFLILFSXUSRVHRIFDXVLQJERGLO\LQMXU\RUGHDWKWRDQRWKHUSHUVRQ
        VXFKDVQXQFKDNXVRUWDVHUV  &KHFNLIDSSOLFDEOH

          ✔7KHGHIHQGDQWVKDOOFRRSHUDWHLQWKHFROOHFWLRQRI'1$DVGLUHFWHGE\WKHSUREDWLRQRIILFHU &KHFNLIDSSOLFDEOHVHH 
           *
           86&  D G DOO IHORQLHV FULPHV XQGHU &K $ FULPHV RI YLROHQFH DQG DWWHPSWV RU FRQVSLUDF\ WR FRPPLW WKHVH
           FULPHV 
       * 7KH GHIHQGDQW VKDOO FRPSO\ ZLWK WKH UHTXLUHPHQWV RI WKH 6H[ 2IIHQGHU 5HJLVWUDWLRQ DQG 1RWLILFDWLRQ $FW  86& 
         HW VHT  DV GLUHFWHG E\ WKH SUREDWLRQ RIILFHU WKH %XUHDX RI 3ULVRQV RU DQ\ VWDWH VH[ RIIHQGHU UHJLVWUDWLRQ DJHQF\ LQ
        ZKLFKKHRUVKHUHVLGHVZRUNVLVDVWXGHQWRUZDVFRQYLFWHGRIDTXDOLI\LQJRIIHQVH &KHFNLIDSSOLFDEOH

        *  7KH GHIHQGDQW VKDOO SDUWLFLSDWH LQ DQ DSSURYHG SURJUDP IRU GRPHVWLF YLROHQFH LI RQH H[LVWV ZLWKLQ D PLOH UDGLXV RI
         GHIHQGDQW¶V OHJDO UHVLGHQFH &KHFN LI DSSOLFDEOHVHH  86&   G  IRU GHIHQGDQWV FRQYLFWHG RI D GRPHVWLF YLROHQFH
         FULPHGHILQHGLQ E 

       ,IWKLVMXGJPHQWLPSRVHVUHVWLWXWLRQDILQHRUVSHFLDODVVHVVPHQWLWLVDFRQGLWLRQRIVXSHUYLVHGUHOHDVHWKDWWKHGHIHQGDQWSD\
        LQDFFRUGDQFHZLWKWKH6FKHGXOHRI3D\PHQWVVKHHWRIWKLVMXGJPHQW7KHGHIHQGDQWVKDOOQRWLI\WKHSUREDWLRQRIILFHURIDQ\
        PDWHULDOFKDQJHLQWKHGHIHQGDQW¶VHFRQRPLFFLUFXPVWDQFHVWKDWPLJKWDIIHFWWKHGHIHQGDQW¶VDELOLW\WRSD\DQ\XQSDLGDPRXQW
        RIUHVWLWXWLRQILQHRUVSHFLDODVVHVVPHQWV

       7KHGHIHQGDQWPXVWUHSRUWWRWKHSUREDWLRQRIILFHLQWKHIHGHUDOMXGLFLDOGLVWULFWZKHUHKHRUVKHLVDXWKRUL]HGWRUHVLGHZLWKLQ
        KRXUVRIUHOHDVHIURPLPSULVRQPHQWXQOHVVWKHSUREDWLRQRIILFHUWHOOVWKHGHIHQGDQWWRUHSRUWWRDGLIIHUHQWSUREDWLRQRIILFH
        RUZLWKLQDGLIIHUHQWWLPHIUDPH

       $IWHULQLWLDOO\UHSRUWLQJWRWKHSUREDWLRQRIILFHWKHGHIHQGDQWZLOOUHFHLYHLQVWUXFWLRQVIURPWKHFRXUWRUWKHSUREDWLRQRIILFHU
        DERXWKRZDQGZKHQWRUHSRUWWRWKHSUREDWLRQRIILFHUDQGWKHGHIHQGDQWPXVWUHSRUWWRWKHSUREDWLRQRIILFHUDVLQVWUXFWHG

      7KHGHIHQGDQWPXVWQRWNQRZLQJO\OHDYHWKHIHGHUDOMXGLFLDOGLVWULFWZKHUHKHRUVKHLVDXWKRUL]HGWRUHVLGHZLWKRXWILUVWJHWWLQJ
        SHUPLVVLRQIURPWKHFRXUWRUWKHSUREDWLRQRIILFHU
              Case 2:14-cr-00182-RMP                    ECF No. 169            filed 08/30/16           PageID.557 Page 4 of 7
$2%    5HY -XGJPHQWLQD&ULPLQDO&DVH
           6KHHW$²6XSHUYLVHG5HOHDVH

                                                                                                                -XGJPHQW²3DJH
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'()(1'$17 JOHN M HICKSON
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                               STANDARD CONDITIONS OF SUPERVISION &RQWLQXHG
       7KHGHIHQGDQWPXVWEHWUXWKIXOZKHQUHVSRQGLQJWRWKHTXHVWLRQVDVNHGE\WKHSUREDWLRQRIILFHU

       7KHGHIHQGDQWPXVWOLYHDWDSODFHDSSURYHGE\WKHSUREDWLRQRIILFHU,IWKHGHIHQGDQWSODQVWRFKDQJHZKHUHKHRUVKHOLYHV
         RUDQ\WKLQJDERXWKLVRUKHUOLYLQJDUUDQJHPHQWV VXFKDVWKHSHRSOHWKHGHIHQGDQWOLYHVZLWK WKHGHIHQGDQWPXVWQRWLI\WKH
         SUREDWLRQRIILFHUDWOHDVWFDOHQGDUGD\VEHIRUHWKHFKDQJH,IQRWLI\LQJWKHSUREDWLRQRIILFHULQDGYDQFHLVQRWSRVVLEOHGXH
         WR XQDQWLFLSDWHG FLUFXPVWDQFHV WKH GHIHQGDQW PXVW QRWLI\ WKH SUREDWLRQ RIILFHU ZLWKLQ  KRXUV RI EHFRPLQJ DZDUH RI D
         FKDQJHRUH[SHFWHGFKDQJH

        7KHGHIHQGDQWPXVWDOORZWKHSUREDWLRQRIILFHUWRYLVLWWKHGHIHQGDQWDWUHDVRQDEOHWLPHVDWKLVRUKHUKRPHRUHOVHZKHUHDQG
          WKHGHIHQGDQWPXVWSHUPLWWKHSUREDWLRQRIILFHUWRWDNHDQ\LWHPVSURKLELWHGE\WKHFRQGLWLRQVRIWKHGHIHQGDQW¶VVXSHUYLVLRQ
          WKDWKHRUVKHREVHUYHVLQSODLQYLHZ

       7KHGHIHQGDQWPXVWZRUNIXOOWLPH DWOHDVWKRXUVSHUZHHN DWDODZIXOW\SHRIHPSOR\PHQWXQOHVVWKHSUREDWLRQRIILFHU
         H[FXVHVWKHGHIHQGDQWIURPGRLQJVR,IWKHGHIHQGDQWGRHVQRWKDYHIXOOWLPHHPSOR\PHQWKHRUVKHPXVWWU\WRILQGIXOOWLPH
         HPSOR\PHQWXQOHVVWKHSUREDWLRQRIILFHUH[FXVHVWKHGHIHQGDQWIURPGRLQJVR,IWKHGHIHQGDQWSODQVWRFKDQJHZKHUHWKH
         GHIHQGDQWZRUNVRUDQ\WKLQJDERXWKLVRUKHUZRUN VXFKDVWKHSRVLWLRQRUWKHMREUHVSRQVLELOLWLHV WKHGHIHQGDQWPXVWQRWLI\
         WKHSUREDWLRQRIILFHUDWOHDVWFDOHQGDUGD\VEHIRUHWKHFKDQJH,IQRWLI\LQJWKHSUREDWLRQRIILFHULQDGYDQFHLVQRWSRVVLEOH
         GXHWRXQDQWLFLSDWHGFLUFXPVWDQFHVWKHGHIHQGDQWPXVWQRWLI\WKHSUREDWLRQRIILFHUZLWKLQKRXUVRIEHFRPLQJDZDUHRID
         FKDQJHRUH[SHFWHGFKDQJH

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         GHIHQGDQWNQRZVVRPHRQHKDVEHHQFRQYLFWHGRIDIHORQ\WKHGHIHQGDQWPXVWQRWNQRZLQJO\FRPPXQLFDWHRULQWHUDFWZLWK
         WKDWSHUVRQZLWKRXWILUVWJHWWLQJWKHSHUPLVVLRQRIWKHSUREDWLRQRIILFHU

       ,I WKH GHIHQGDQW LV DUUHVWHG RU KDV DQ\ RIILFLDO FRQWDFW ZLWK D ODZ HQIRUFHPHQW RIILFHU LQ D FLYLO RU FULPLQDO LQYHVWLJDWLYH
         FDSDFLW\WKHGHIHQGDQWPXVWQRWLI\WKHSUREDWLRQRIILFHUZLWKLQKRXUV

       7KHGHIHQGDQWPXVWQRWDFWRUPDNHDQ\DJUHHPHQWZLWKDODZHQIRUFHPHQWDJHQF\WRDFWDVDFRQILGHQWLDOKXPDQVRXUFHRU
         LQIRUPDQWZLWKRXWILUVWJHWWLQJWKHSHUPLVVLRQRIWKHFRXUW

       7KHGHIHQGDQWPXVWIROORZWKHLQVWUXFWLRQVRIWKHSUREDWLRQRIILFHUUHODWHGWRWKHFRQGLWLRQVRIVXSHUYLVLRQ
            Case 2:14-cr-00182-RMP                     ECF No. 169     filed 08/30/16       PageID.558 Page 5 of 7
$2%     5HY -XGJPHQWLQD&ULPLQDO&DVH
           6KHHW'²6XSHUYLVHG5HOHDVH
                                                                                                    -XGJPHQW²3DJH     5      RI       7
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                                         SPECIAL CONDITIONS OF SUPERVISION
 19) The defendant shall abstain from the use of illegal controlled substances, and shall submit to urinalysis and sweat patch testing, as
 directed by the supervising officer, but no more than 6 tests per month, in order to confirm continued abstinence from these substances.

 20) The defendant shall undergo a substance abuse evaluation and, if indicated by a licensed/certified treatment provider, enter into and
 successfully complete an approved substance abuse treatment program, which could include inpatient treatment and aftercare upon
 further order of the court. The defendant shall contribute to the cost of treatment according to his ability to pay. The defendant shall
 allow full reciprocal disclosure between the supervising officer and treatment provider.

 21) The defendant shall submit his/her person, residence, office, vehicle and belongings to a search, conducted by a probation officer,
 at a sensible time and manner, based upon reasonable suspicion of contraband or evidence of violation of a condition of supervision.
 Failure to submit to search may be grounds for revocation. The defendant shall warn persons with whom he/she shares a residence that
 the premises may be subject to search.
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           6KHHW²&ULPLQDO0RQHWDU\3HQDOWLHV
                                                                                                   -XGJPHQW²3DJH      6      RI         7
'()(1'$17 JOHN M HICKSON
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                                                CRIMINAL MONETARY PENALTIES
     7KHGHIHQGDQWPXVWSD\WKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVXQGHUWKHVFKHGXOHRISD\PHQWVRQ6KHHW

                      Assessment                                    Fine                                  Restitution
TOTALS                $100.00                                       $0.00                                 $0.00


G 7KHGHWHUPLQDWLRQRIUHVWLWXWLRQLVGHIHUUHGXQWLO           $QAmended Judgment in a Criminal Case $2& ZLOOEHHQWHUHG
    DIWHUVXFKGHWHUPLQDWLRQ

G 7KHGHIHQGDQWPXVWPDNHUHVWLWXWLRQ LQFOXGLQJFRPPXQLW\UHVWLWXWLRQ WRWKHIROORZLQJSD\HHVLQWKHDPRXQWOLVWHGEHORZ
    ,IWKHGHIHQGDQWPDNHVDSDUWLDOSD\PHQWHDFKSD\HHVKDOOUHFHLYHDQDSSUR[LPDWHO\SURSRUWLRQHGSD\PHQWXQOHVVVSHFLILHGRWKHUZLVHLQ
    WKHSULRULW\RUGHURUSHUFHQWDJHSD\PHQWFROXPQEHORZ+RZHYHUSXUVXDQWWR86& L DOOQRQIHGHUDOYLFWLPVPXVWEHSDLG
    EHIRUHWKH8QLWHG6WDWHVLVSDLG

Name of Payee                                                        Total Loss*          Restitution Ordered        Priority or Percentage




TOTALS                                                    0.00                                  0.00


G     5HVWLWXWLRQDPRXQWRUGHUHGSXUVXDQWWRSOHDDJUHHPHQW

G     7KHGHIHQGDQWPXVWSD\LQWHUHVWRQUHVWLWXWLRQDQGDILQHRIPRUHWKDQXQOHVVWKHUHVWLWXWLRQRUILQHLVSDLGLQIXOOEHIRUHWKH
      ILIWHHQWKGD\DIWHUWKHGDWHRIWKHMXGJPHQWSXUVXDQWWR86& I $OORIWKHSD\PHQWRSWLRQVRQ6KHHWPD\EHVXEMHFW
      WRSHQDOWLHVIRUGHOLQTXHQF\DQGGHIDXOWSXUVXDQWWR86& J 

G     7KHFRXUWGHWHUPLQHGWKDWWKHGHIHQGDQWGRHVQRWKDYHWKHDELOLW\WRSD\LQWHUHVWDQGLWLVRUGHUHGWKDW

      G WKHLQWHUHVWUHTXLUHPHQWLVZDLYHGIRUWKH G ILQH G UHVWLWXWLRQ
      G WKHLQWHUHVWUHTXLUHPHQWIRUWKH G ILQH G UHVWLWXWLRQLVPRGLILHGDVIROORZV


 )LQGLQJVIRUWKHWRWDODPRXQWRIORVVHVDUHUHTXLUHGXQGHU&KDSWHUV$$DQG$RI7LWOHIRURIIHQVHVFRPPLWWHGRQRUDIWHU
6HSWHPEHUEXWEHIRUH$SULO
               Case 2:14-cr-00182-RMP                    ECF No. 169         filed 08/30/16       PageID.560 Page 7 of 7
$2%    5HY -XGJPHQWLQD&ULPLQDO&DVH
           6KHHW²6FKHGXOHRI3D\PHQWV

                                                                                                         -XGJPHQW²3DJH     7      RI       7
'()(1'$17 JOHN M HICKSON
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                                                        SCHEDULE OF PAYMENTS

+DYLQJDVVHVVHGWKHGHIHQGDQW¶VDELOLW\WRSD\SD\PHQWRIWKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVDUHGXHDVIROORZV

A     ✔ /XPSVXPSD\PHQWRI 100.00
      G                                                       GXHLPPHGLDWHO\EDODQFHGXH

           G     QRWODWHUWKDQ                                   RU
           G     LQDFFRUGDQFH           G &          G '   G     (RU    G )EHORZRU
B     G    3D\PHQWWREHJLQLPPHGLDWHO\ PD\EHFRPELQHGZLWK              G &     G 'RU     G )EHORZ RU
C     G    3D\PHQWLQHTXDO                    HJZHHNO\PRQWKO\TXDUWHUO\ LQVWDOOPHQWVRI                      RYHUDSHULRGRI
                        HJPRQWKVRU\HDUV WRFRPPHQFH                 HJRUGD\V DIWHUWKHGDWHRIWKLVMXGJPHQWRU

D     G    3D\PHQWLQHTXDO                     HJZHHNO\PRQWKO\TXDUWHUO\ LQVWDOOPHQWVRI                    RYHUDSHULRGRI
                         HJPRQWKVRU\HDUV WRFRPPHQFH                 HJRUGD\V DIWHUUHOHDVHIURPLPSULVRQPHQWWRD
           WHUPRIVXSHUYLVLRQRU

E     G    3D\PHQWGXULQJWKHWHUPRIVXSHUYLVHGUHOHDVHZLOOFRPPHQFHZLWKLQ                  HJRUGD\V DIWHUUHOHDVHIURP
           LPSULVRQPHQW7KHFRXUWZLOOVHWWKHSD\PHQWSODQEDVHGRQDQDVVHVVPHQWRIWKHGHIHQGDQW¶VDELOLW\WRSD\DWWKDWWLPHRU

F     G    6SHFLDOLQVWUXFWLRQVUHJDUGLQJWKHSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHV




8QOHVVWKHFRXUWKDVH[SUHVVO\RUGHUHGRWKHUZLVHLIWKLVMXGJPHQWLPSRVHVLPSULVRQPHQWSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHVLVGXH
GXULQJLPSULVRQPHQW$OOFULPLQDOPRQHWDU\SHQDOWLHVH[FHSW WKRVH SD\PHQWVPDGHWKURXJKWKH)HGHUDO%XUHDXRI3ULVRQV¶,QPDWH)LQDQFLDO
5HVSRQVLELOLW\3URJUDPDUHPDGHWRWKHIROORZLQJDGGUHVVXQWLOPRQHWDU\SHQDOWLHVDUHSDLGLQIXOO&OHUN86'LVWULFW&RXUW$WWHQWLRQ
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7KHGHIHQGDQWVKDOOUHFHLYHFUHGLWIRUDOOSD\PHQWVSUHYLRXVO\PDGHWRZDUGDQ\FULPLQDOPRQHWDU\SHQDOWLHVLPSRVHG

G     -RLQWDQG6HYHUDO

      'HIHQGDQWDQG&R'HIHQGDQWV1DPHVDQG&DVH1XPEHUV LQFOXGLQJGHIHQGDQWQXPEHU 7RWDO$PRXQW-RLQWDQG6HYHUDO$PRXQW
      DQGFRUUHVSRQGLQJSD\HHLIDSSURSULDWH




G     7KHGHIHQGDQWVKDOOSD\WKHFRVWRISURVHFXWLRQ

G     7KHGHIHQGDQWVKDOOSD\WKHIROORZLQJFRXUWFRVW V 

G     7KHGHIHQGDQWVKDOOIRUIHLWWKHGHIHQGDQW¶VLQWHUHVWLQWKHIROORZLQJSURSHUW\WRWKH8QLWHG6WDWHV




3D\PHQWVVKDOOEHDSSOLHGLQWKHIROORZLQJRUGHU  DVVHVVPHQW  UHVWLWXWLRQSULQFLSDO  UHVWLWXWLRQLQWHUHVW  ILQHSULQFLSDO
  ILQHLQWHUHVW  FRPPXQLW\UHVWLWXWLRQ  SHQDOWLHVDQG  FRVWVLQFOXGLQJFRVWRISURVHFXWLRQDQGFRXUWFRVWV
